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                                   UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK




       In re Terrorist Attacks on September 11, 2001    |03 MDL 1570 (GBD) (SN)




      This document relates to:
     All Actions

                                  DECLARATION OF BRIAN WEIDNER

    I, Brian Weidner, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury the


    following:


           a       I am a retired Special Agent (SA) with the Federal Bureau of Investigation


    (FBI). I retired from the FBI after just short of 24 years with the bureau. For myfirst two years


    with the FBI, I worked primarily on white collar crime cases. For the next 22 years, I worked in


    Middle Eastern counterintelligence and counterterrorism. The six years before my retirement,


    from 2002-2008, I was a Supervisory Special Agent (SSA) of a counterintelligence and

    counterterrorism squad focusing onterrorist and intelligence threats originating from the Arabian


    Peninsula. I was also trained by the FBIas a hostage negotiator, a certification I obtained in


    1996 and maintained through myretirement. Following my retirement, among otherthings, I


    have served as Course Chairman andas an instructor for threat country seminars with the Joint


    CounterIntelligence Training Academy (JCITA) with the Defense Intelligence Agency (DIA), an


    instructor with the FBI’s CounterIntelligence Training Center, and as an instructor for the

    CounterIntelligence Center (CIC) (a private academy providing counterintelligence and


    counterterrorism instruction to various jurisdictions). Prior to joining the FBI, I was a Combat

    ArmsOfficer in the United States Army.




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             2s      Following the 9/11 Terrorist Attacks, while I was an SSA with the FBI, I oversaw


      an investigation in which Musaed al-Jarrah, an official at the Kingdom of Saudi Arabia’s

      Embassy in Washington, D.C., had cometo our attention.


             3.      In November2020, the 9/11 Families, through Kreindler & Kreindler, retained me


      as a consultant. At that time, I was provided with copies of two protective orders: the MDL


     protective order and the FBI protective order. I reviewed and understood both and signed the


      acknowledgment page for the FBI protective order, a copy of whichis attached. The MDL


      protective order had no acknowledgmentpage.


             4.      In connection with my work for the 9/11 Families over the past year, I was


      requested traveled to New York City on or about June 18, 2021. At that time, I understood that


      expert reports were scheduled to be filed soon, and I had information that was relevant to them. I


      was advised that my presence would be helpful in connection with those reports and that it would


      be helpful to meet various members of the Kreindler & Kreindler team working on behalf of the


      9/11 Families. While at the Kreindler & Kreindler offices that day, at certain points I entered a


      conference room where I saw portions of the Jarrah deposition, which Megan Benett, an attorney


      at Kreindler & Kreindler, was taking. I did not watch the deposition in its entirety, and I was not


      in the conference room at the beginningof it.


             3.      At one pointthat day, I walked from the conference room to the opposite end of


      the Kreindler & Kreindler offices, where Ms. Benett was conducting the deposition by herself in


      a small office. When Ms. Benett stepped outof that office, I approached her to share


      information regarding Jarrah’s meeting with two FBI SAsconcerning child pornography.


             6.




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                 a,      I believed this information was important to share with Ms. Benett. I provided


         this limited and redacted description of the public confrontation with Jarrah because, as noted


         above concerning the public exchange between the SAs and Jarrah, until confronted with


         evidence Jarrah generally lacked candor and failed to be forthright.


                 10.     That was thefirst time that I met Ms. Benett in person andI believe wasthe first


         time we had ever even spoken with each other.


                 11.     I never received a copy ofthe transcript of the Jarrah deposition.


|
12. When Kreindler & Kreindler provided me with the MDL and FBI protective


         orders, they emphasized the importance of maintaining strict confidentiality with any materials


         or information subjectto those. I understood my obligations under the MDL and FBIprotective


         orders, have abided by them since reviewing them and signing the FBI acknowledgment page


         over a year ago, would never have violated them or encouraged anyoneelse to do so and only


         learned from Kreindler & Kreindler in Octoberof this year that John Fawcett provided a copy of


         the Jarrah deposition transcript to a reporter.



         Dated: New York, New York


                November 21, 2021




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      BRIAN WEIDNER



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      Brian Weidner


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                                   ACKNOWLEDGEMENT


         I have read and I understand the Privacy Act Order and Protective Order for FBI


Documents entered by the Court in the case Jn re Terrorist Attacks of September 11, 2001, 03


MDL 1570(GBD)(SN), and I agree to be bound byits terms.



Date:




Name(printed):



Signature:
